Case: 6:10-cr-00006-GFVT-HAI            Doc #: 403 Filed: 08/07/17          Page: 1 of 3 - Page
                                          ID#: 1588



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )     Criminal No. 6:10-CR-6-GFVT-HAI-3
                                                  )
 V.                                               )
                                                  )
 GARRETT LAMB, SR.,                               )                    ORDER
                                                  )
                                                  )
        Defendant.                                )

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition filed by United States

Magistrate Judge Hanly A. Ingram. [R. 401.] Defendant Garrett Lamb, Sr., is charged with

three violations of his supervised release. [See id. at 2-3.] Specifically, Lamb is charged with

violating the Standard Condition requiring him to truthfully answer all inquiries and follow the

instructions of his probation officer. Lamb violated this condition by lying about an oxycodone

prescription and filming himself flushing pills down the toilet in direct violation of USPO

Collin’s instructions. Lamb is also charged with violating the requirement that he not purchase,

possess, or use any controlled substance, and the requirement that he refrain from committing

another federal, state, or local crime. [Id.] After an initial appearance on June 27, 2017, Lamb

was placed in custody of the United States Marshal. [Id. at 3.]

       At a final hearing on June 30, 2017, Mr. Lamb competently entered a knowing,

voluntary, and intelligent stipulation to the first violation, and the Government moved to dismiss

Violation #2 and Violation #3. [Id. at 4.] Judge Ingram subsequently issued a Recommended

Disposition which recommends dismissal of Violations #2 and #3, as well as revocation of Mr.
Case: 6:10-cr-00006-GFVT-HAI             Doc #: 403 Filed: 08/07/17            Page: 2 of 3 - Page
                                           ID#: 1589



Lamb’s term of supervised release with a term of incarceration of four months, followed by a

term of supervised release of one year. [Id. at 9.] Throughout the Recommended Disposition,

Judge Ingram adequately evaluated the 18 U.S.C. § 3553 factors. He noted that Mr. Lamb’s

breach of the Court’s trust was significant given that Lamb had been shown leniency on

numerous other occasions. Judge Ingram stressed the importance of Mr. Lamb demonstrating

the strength needed to live a drug-free lifestyle. [Id. at 8.] And Judge Ingram also stated that he

believed his recommendation is adequate to ensure respect for the Court’s authority as well as to

address the breach of trust. [Id.]

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition advises the parties that objections must be filed within fourteen (14) days of service.

[Id. at 9.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition were filed within the appropriate time period by either party. Further, Mr. Lamb,

through counsel, submitted a notice of waiver of allocution on July 11, 2017. [R. 402.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, the Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:



                                                  2
Case: 6:10-cr-00006-GFVT-HAI           Doc #: 403 Filed: 08/07/17          Page: 3 of 3 - Page
                                         ID#: 1590



       1.      The Report and Recommendation [R. 401] as to Defendant Garrett Lamb, Sr., is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Lamb is found to have violated the terms of his Supervised Release as

set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition of

the Magistrate Judge;

       3.      Defendant Lamb’s Supervised Release is REVOKED;

       4.      Defendant Lamb is hereby sentenced to a term of incarceration of six (6) months;

with a term of supervised release of one (1) year to follow, under the conditions previously

imposed; and

       6.      Judgment shall enter promptly.

       This the 7th day of August, 2017.




                                                3
